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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

In re:                                     §
                                           §                Case No. 21-32261
Kornbluth Texas, LLC,                      §
                                           §                Chapter 11
Debtor.                                    §

            United States’ Notice of Appeal and Statement of Election
                            (Related to Doc. No. 149)

         The United States of America appeals to the United States District Court for

the Southern District of Texas pursuant to 28 U.S.C. § 158 from the Interim Order

Authorizing the Continued Use of Cash Collateral entered by the Bankruptcy Court

in In re Kornbluth Texas, LLC, Case No. 21-32261, on December 17, 2021.

Identify the appellant

Name of the appellant: United States of America.

Position of appellant in the bankruptcy case that is the subject of this appeal: Secured

creditor.

Identify the subject of this appeal

Describe the judgment, order, or decree appealed from: Interim Order Authorizing

the Continued Use of Cash Collateral entered at Doc. No. 149.

State the date on which the judgment, order, or decree was entered: December 17,

2021.

Identify the other parties to the appeal

Party:         Kornbluth Texas, LLC

Attorney:      Matthew S. Okin

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Party:        WFCM 2016-LC25 West Bay Area Boulevard, LLC

Attorney:     Eric C. Seitz

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              Dallas, TX 75201

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Election to have appeal heard by District Court

A Bankruptcy Appellate Panel is not available in this District. The United States

elects to have the appeal heard by the United States District Court.

         Dated: December 31, 2021.

                                                Respectfully submitted,

                                                JENNIFER B. LOWERY,
                                                United States Attorney

                                       By:      s/ Richard A. Kincheloe
                                                Richard A. Kincheloe
                                                Assistant United States Attorney
                                                Attorney-in-Charge
                                                United States Attorney’s Office
                                                Southern District of Texas
                                                Texas Bar No. 24068107

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                             Certificate of Service

       The undersigned certifies that he served a true and correct copy of the
foregoing Notice on the parties receiving ECF notification in this case on December
31, 2021, by ECF notice.

                                            s/ Richard A. Kincheloe
                                            Richard A. Kincheloe
                                            Assistant United States Attorney




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